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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1590V
                                      (not to be published)

    ************************* *
                                *
    KURT RHODES,                *
                                *
                                *                          Filed: January 21, 2021
                    Petitioner, *
                                *
    v.                          *
                                *                          Decision by Stipulation; Damages; Tdap
                                *                          Vaccine; Pneumococcal Conjugate (PCV
    SECRETARY OF HEALTH AND     *                          13) Vaccine; Guillain Barré syndrome
    HUMAN SERVICES,             *                          (“GBS”).
                                *
                                *
                    Respondent. *
                                *
    ************************* *

Diana Stadelnikas, Maglio Christopher & Toale, P.A., Sarasota, FL, for Petitioner.
Matthew Murphy, U.S. Department of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

        On November 14, 2017, Kurt Rhodes (“Petitioner”) filed a petition, seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF
No. 1. Petitioner alleges he suffered from Guillain-Barré syndrome (“GBS”) as a result of the
Tdap and/or the PCV 13 vaccinations he received on or about May 26, 2015. See Stipulation ¶ 2,
4, dated January 21, 2021 (ECF No. 48); see also Petition.

        Respondent denies “that either the Tdap vaccine or the PCV 13 [vaccine] are the cause of

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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[P]etitioner’s alleged GBS or any other injury or this current condition.” See Stipulation ¶ 6.
Nonetheless, both parties, while maintaining their above-stated positions, agreed in a stipulation
filed January 21, 2021 that the issues before them can be settled and that a decision should be
entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       a lump sum of $40,000.00 in the form of a check payable to [P]etitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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